

Matter of CJS Indus., Inc. v RS Custom Woodworking Inc. (2022 NY Slip Op 07183)





Matter of CJS Indus., Inc. v RS Custom Woodworking Inc.


2022 NY Slip Op 07183


Decided on December 20, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 20, 2022

Before: Kern, J.P., Friedman, Gesmer, González, Mendez, JJ. 


Index No. . 657234/20 Appeal No. 16918 Case No. 2022-01792 

[*1]In the Matter of CJS Industries, Inc. Petitioner-Respondent,
vRS Custom Woodworking Inc. Also Known as RS Woodworking, Respondent-Appellant. 


Cermele &amp; Wood LLP, White Plains (Geoffrey Pope of counsel), for appellant.
Brick Law PLLC, White Plains (Brian H. Brick of counsel), for respondent.



Judgment, Supreme Court, New York County (Arthur F. Engoron, J.), entered September 30, 2021, in favor of petitioner and against respondent, and bringing up for review an order, same court and Justice, entered June 7, 2021, which granted the petition to confirm a final arbitration award, unanimously reversed, on the law, without costs, the judgment vacated, and the matter remanded for further proceedings.
The petition sought to confirm an arbitration award against an entity that was not a party to the arbitration proceeding, but which, upon proof, may be shown to be an alter ego of the entity that appeared at the arbitration proceedings or provide grounds for piercing the corporate veil (see generally Matter of Rural Media Group, Inc. v
Yraola, 137 AD3d 489, 490-491 [1st Dept 2016]; Matter of Glenn [Redford], 233 AD2d 248 [1st Dept 1996]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 20, 2022








